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            EXHIBIT 2
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Search:                Public Records : Real Property
Terms:                 first-name(Sean) last-name(Combs) street address(40 Hedges Bank Drive) state(NY) zip code(11937)




No.       Name Information                Property Address                APN                        Jurisdiction
1         Buyer                           40 HEDGES BANKS DR              0300-035.00-02.00-         Deed Record for
                                                                          006.000                    SUFFOLK, NY
          40 HEDGES REALTY INC            EAST HAMPTON, NY 11937-
          1540 BROADWAY FL 30             3505                                                       Recording Date :
                                                                                                     08/23/2001
          NEW YORK, NY 10036-4039
                                                                                                     Document Type :
                                                                                                     BARGAIN AND SALE
          Care Of                                                                                    DEED
          DEREK FERGUSON BAD BOY                                                                     Contract Date :
          ENTERTAINMENT                                                                              08/03/2001
          813 PARK AVE                                                                               Data Source : B

          NEW YORK, NY 10021-3207

          Seller
          COMBS, SEAN
          813 PARK AVE
          NEW YORK, NY 10021-3207


2         Seller                          40 HEDGES BANKS DR              890.35 00.00 002.006       Assessment Record
                                                                                                     for SUFFOLK, NY
          COMBS SEAN                      EAST HAMPTON, NY 11937-
                                          3505                                                       Recording Date :
                                                                                                     08/23/2001
                                                                                                     Tax Year : 2001
                                                                                                     Data Source : A
          Owner
          40 HEDGES REALTY INC



3         Buyer                           40 HEDGES BANKS DR              890.35 00.00 002.034       Deed Record for
                                                                                                     SUFFOLK, NY
          SEAN COMBS                      EAST HAMPTON, NY 11937-
                                          3505                                                       Recording Date :
          813 PARK AVE
                                                                                                     07/24/2000
          NEW YORK, NY 10021-3207                                                                    Document Type :
                                                                                                     DEED OF TRUST
                                                                                                     Contract Date :
                                                                                                     07/24/2000
                                                                                                     Data Source : A
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                                                                                                          Page 2 of 2
                                                     Sean_Combs

Terms:              first-name(Sean) last-name(Combs) street address(40 Hedges Bank Drive) state(NY) zip code(11937)
Date/Time:          Wednesday, January 8, 2025 6:17 AM
Permissible Use:    Your DPPA Permissible Use: Litigation
                    Your Secondary DPPA Permissible Use: None
                    Your GLBA Permissible Use: I have no permissible use



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